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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRIC'I` OF IDAHO

UNITED sTATEs oF AMERICA,
CR. /`7“3¢9 ZVBU”J
Plaintiff,

vs. WAI`VER Of DETENTION HEARING

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Def`endant. ORDER OF DETENTION

 

WAIVER OF DETENTION HEARING

 

I have appeared before a United States Magistrate Judge in the District of Idaho, Who has
advised me of the provisions of 18 United States Code, Section 3142(f) and of my right to have a
detention hearing pursuant to the Bail Reform Act of 1984. Iwish to Waive my right to such hearing
and further understand and agree that the Court may enter a detention order based on the grounds set
forth in the motion for a detention hearing filed by the United States, Without prejudice to my ability
to request modification of the detention order and a hearing at some later date.

(a) I have been advised that, at the hearing, Iwould have the right to be represented by
counsel, and, if financially unable to obtain adequate representation, to have counsel appointed for
me.

(b) That at the hearing l Would be afforded an opportunity to testify, to present witnesses on
my own behalf, to cross examine Witnesses who appear at the hearing and to present information by

proffer or otherwise.

 

 

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(c) I knowing and voluntarily waive my right to a detention hearing and consent to the

issuance of an order detaining me without prejudice prior to trial or revocation

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DATED this 727-day of

   

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Signature ol?q)efendant .,-- Defense Counsel

ORDER OF DETENTION

Based upon the foregoing Waiver,

IT IS HEREBY ORDERED that the Defendant be detained prior to trial or revocation
without prejudice;

IT IS FURTHER ORDERED that the Defendant be committed to the custody of the United
States Marshal for confinement in a correction facility separate, to the extent practicable, from
persons awaiting or serving sentences or being held in custody pending appeal;

IT IS FURTHER ORDERED that the Defendant be afforded reasonable opportunity for
private consultation with his counsel; and,

IT IS FURTHER ORDERED that the director of the correctional facility in which the
Defendant is confined shall make the Defendant available to the United States Marshal for the
purpose of appearance in connection with a Court Proceeding.

The detention hearing currently set in this matter, is hereby vacated.

DATED this£¢_/'ciay of%% 2013`_

cANDY WAGAH<`)'FF DALE
f. United States Magistrate Judge

 

 

 

